          Case 4:20-cv-03919-CW          Document 717-4    Filed 03/03/25      Page 1 of 96



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15

16                                   UNITED STATES DISTRICT COURT

17                                  NORTHERN DISTRICT OF CALIFORNIA

18                                            OAKLAND DIVISION
19   IN RE COLLEGE ATHLETE NIL LITIGATION              Case No. 4:20-cv-03919-CW
20                                                     DECLARATION OF CARLA A. PEAK RE:
21                                                     NOTICE PROCEDURES

22
                                                       Judge:         Hon. Claudia Wilken
23

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                           DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                        CASE NO. 4:20-CV-03919-CW
            Case 4:20-cv-03919-CW          Document 717-4        Filed 03/03/25      Page 2 of 96



 1           I, Carla A. Peak, declare and state as follows:
 2           1.     I have personal knowledge of the matters set forth herein and if called as a witness I could
 3   and would testify competently to them.
 4           2.     I am a nationally recognized expert in the field of legal notification, and I have served as
 5   an expert in countless federal and state cases involving class action notice plans.
 6           3.     I am a Vice President of Legal Notification Services for Verita Global, LLC (“Verita”),
 7   formerly known as KCC Class Action Services, LLC (“KCC”). Pursuant to the Revised Order Granting
 8   Plaintiffs’ Motion for Preliminary Settlement Approval as Modified (the “Preliminary Approval Order”)
 9   dated October 7, 2024, the Court appointed Verita as the Claims Administrator in connection with the
10   proposed Settlement of the above-captioned Action.1
11                                                 CLASS LIST
12           4.     On or around June 3, 2024, Verita understands that Defendants notified their Division I
13   member institutions (“schools”) to provide Verita with data to effectuate notice in the above captioned
14   action. Schools were directed to a website, https://www.kccconnect.com/NCCOUpload, where schools
15   can download data templates, instructions, and upload their athlete roster data through an online portal.
16   The two data templates that were posted on the website are 1) Power5 template and 2) non-Power5
17   template. Class Counsel and Verita additionally created a Yearly template to assist different schools’ data
18   storage systems, but this template had to be specifically requested. The templates asked for NCAA EC
19   IDs, names, addresses, email addresses, sport played, years played, GIA status (if Power5), and redshirt
20   years. True and correct copies of the templates and instructions are attached hereto as Exhibit A, B, and C.
21           5.     Beginning August 8, 2024, through January 31, 2025, Verita received at least 534 separate
22   data file submissions from 325 Division 1 (D1) schools. In some submissions, there were multiple data
23   files uploaded or in each data file there would be multiple tabs of data. As Verita processed incoming
24   data files, it was found that some schools needed to provide additional information, or provide the
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27      1
          All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
     Settlement Agreement, dated September 26, 2024 (the “Stipulation”) and/or the Preliminary Approval
28   Order.
                                                    -1-
                           DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                         CASE NO. 4:20-cv-03919-CW
          Case 4:20-cv-03919-CW            Document 717-4         Filed 03/03/25       Page 3 of 96



 1   information in a different format, i.e., sports, years played, NCAA EC IDs, or GIA statuses were missing
 2   or incorrect. As a result, some schools were asked to provide new and/or supplemental data.
 3          6.      As data files arrived, Verita formatted the lists for mailing purposes and removed duplicate
 4   records. Duplicates were removed per data file and not across the entire data population. As a result,
 5   some college athletes received multiple notices either because their school provided data on multiple
 6   occasions or because the athlete attended multiple schools. On average, athletes were sent direct notice
 7   2.5 times.
 8          7.       Verita also processed the names and addresses through the National Change of Address
 9   Database (“NCOA”) to update any addresses on file with the United States Postal Service (“USPS”). A
10   total of 43,203 addresses were found and updated via NCOA. Verita updated its proprietary database
11   with the Class List. A list of schools that provided data is attached hereto as Exhibit D.
12          8.      Due to multiple data submissions from schools, Verita deduped claims and records based
13   on athlete and school. This means an athlete may be listed in Verita’s records multiple times because the
14   athlete attended multiple schools.
15          9.      In summary, Verita received approximately 436,807 unique student records based on
16   athlete and school. Verita can also estimate that there would be 30,833 unique student records at the 37
17   schools that did not provide data. The resulting total athlete records for all the schools in the class would
18   be 467,640. Based on analysis of claim data which showed, on average, athletes attended 1.2 schools,
19   Verita estimates the unique athlete count across all schools – i.e., the class size – is approximately 389,700
20   students.
21                                                NOTICE PLAN
22                                                    Overview
23          10.     Verita designed and implemented a notice plan (the “Notice Plan”) to provide notice to
24   the Settlement Classes. The Notice Plan consisted of direct, individual notice to all known class members
25   and publication notice comprised of digital media, press releases, and an organic media effort.
26          11.     Verita estimates that approximately 96.4% of the Settlement Classes received notice,
27   considering the combined direct notice and digital media notice efforts alone. Although not measurable,
28

                                                     -2-
                            DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                          CASE NO. 4:20-cv-03919-CW
            Case 4:20-cv-03919-CW          Document 717-4       Filed 03/03/25      Page 4 of 96



 1   the reminder notice, press releases and extensive organic media effort served to further extend reach and
 2   frequency of exposure among the Settlement Classes.
 3                                             Mailing of the Notice
 4           12.    Verita identified 362 D1 schools as being eligible to participate in the Settlement. Of the
 5   362 D1 schools, 70 were Power5 schools. From August 8, 2024, through October 17, 2024, Verita
 6   received data submissions from 127 D1 schools. On October 18, 2024, Verita printed and mailed the first
 7   round of the House Postcard Notice (collectively, the “Notice”) to 19,203 names and mailing addresses
 8   from 51 D1 schools who provided data. A true and correct copy of the House Postcard Notice is attached
 9   hereto as Exhibit E.
10           13.    Verita continued to mail notices on a rolling basis. From October 21, 2024, through
11   January 31, 2025, Verita mailed notices to the remaining 274 schools who provided data. Verita did not
12   receive data from 37 D1 schools.2
13           14.    From October 18, 2024, through January 27, 2025, Verita completed 17 rounds of
14   postcard noticing and sent a total of 91,084 Notices.
15           15.    Since mailing the Notices to the class members, Verita has received 1,071 Notices
16   returned by the USPS with forwarding addresses. These 1,071 Notices were associated with 618 unique
17   Claim IDs. Verita immediately caused Notices to be re-mailed to the 513 forwarding addresses supplied
18   by the USPS. Verita did not remail Notice to the 105 athletes whose notice was returned with a forwarding
19   address because Verita received claim form or payment information from these athletes, or their notice
20   was returned after the filing deadline.
21           16.    Since mailing the Notices to the class members, Verita has received 23,619 Notices
22   returned by the USPS with undeliverable addresses. These 23,619 undeliverable Notices were associated
23   with 13,448 unique Claim IDs. Through credit bureau and/or other public source databases, Verita
24   performed address searches for these undeliverable Notices and was able to find updated addresses for
25   867 class members. Verita promptly re-mailed Notices to the newly found addresses.
26
27      2
          As described in the text below, Verita also engaged in a robust publication notice campaign, to
     maximize the likelihood that all class members received notice of the settlement, including a second press
28   release publication one week prior to the claims deadline.
                                                     -3-
                            DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                          CASE NO. 4:20-cv-03919-CW
            Case 4:20-cv-03919-CW         Document 717-4         Filed 03/03/25      Page 5 of 96



 1                                            Emailing of the Notice
 2           17.    Verita also processed 455,202 email addresses through an email cleanse. The email
 3   cleanse process fixes common typographical errors in domain names, corrects insufficient domain
 4   suffixes (e.g., gmal.com to gmail.com, etc.), and removes known bad email addresses. Email addresses
 5   not designated as a known bad address were then verified by contacting Internet Service Providers to
 6   determine if the email address exists. Of the 455,202 email addresses, 82,364 were found to be invalid
 7   email addresses. Starting October 18, 2024, through January 27, 2025, Verita caused the House Email
 8   Notice to be sent to the valid email addresses. A true and correct copy of the email notices is attached
 9   hereto as Exhibit F.
10           18.    On a rolling basis, Verita mailed the Postcard Notices to athletes whose email notice was
11   not successfully delivered and who had a complete mailing address on file. In total, approximately 22,366
12   Postcard Notices were sent to mailing addresses of athletes whose email notice was not successfully
13   delivered.
14           19.    From October 18, 2024, through January 27, 2025, Verita performed 17 rounds of email
15   campaigns, sending a total of 372,838 email notices.
16           20.    Verita sent a total of 463,922 postcard and email notices. Verita has been able to identify
17   53,068 exact duplicate records based on the athlete’s name and school. These duplicates derived from
18   schools resubmitting corrected/updated data files. As a result, some athletes received multiple notices.
19           21.    With the combined Postcard and Email notices, approximately 81.9% of class members
20   received direct notice. Even when just considering direct notice, this is alone above the estimated reach
21   proposed at preliminary approval and is considered reasonable by The Federal Judicial Center’s Judges’
22   Class Action Notice and Claims Process Checklist and Plain Language Guide (the “FJC Checklist”).3
23                                          Reminder Summary Notice
24           22.    On January 24, 2025, Verita caused an Email Reminder notice to be sent to 252,990
25   college athletes who, at the time, had not yet submitted a claim and whose initial email notice was
26      3
          The Judges’ Class Action Notice and Claims Process Checklist and Plain Language Guide states:
27   “The lynchpin in an objective determination of the adequacy of a proposed notice effort is whether all
     the notice efforts together will reach a high percentage of the class. It is reasonable to reach between 70-
28   95%.”
                                                     -4-
                            DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                          CASE NO. 4:20-cv-03919-CW
              Case 4:20-cv-03919-CW        Document 717-4        Filed 03/03/25      Page 6 of 96



 1   successfully delivered. A true and correct copy of the Email Reminder Notice is attached hereto as Exhibit
 2   G.
 3                                               Publication Notice
 4             23.   Verita    purchased   approximately     72,800,000    impressions4    to   be   distributed
 5   programmatically across a variety of websites and mobile apps, as well as on Facebook, Instagram, Tik
 6   Tok, YouTube, and Reddit from October 18, 2024, through December 16, 2024. The impressions were
 7   delivered via display banner, image, and video ads consisting of text and imagery designed to catch the
 8   attention of likely student athletes and were directly linked to the settlement website. The impressions
 9   were demographically targeted to adults 18-34 years of age. Where available, additional targeting was
10   layered to include demographics, including self-stated college students or college graduates, to users
11   indicating membership in NCAA or student/college athletics; and/or contextual targeting alongside
12   content related to news and/or college sports; and/or behaviors, for example to those whose online
13   behavior indicates interest in college sports, NCAA sports, NCAA accounts, etc. This targeted digital
14   media campaign alone was designed to reach more than 80% of likely class members in this settlement.
15   Additional impressions were delivered via paid search campaigns serving text ads alongside Google,
16   Yahoo, and Bing search engine results when keywords related to the litigation were triggered. A total of
17   75,363,111 impressions were delivered, resulting in an additional 2,563,111 impressions at no extra
18   charge. Confirmation of the digital notices as they appeared on a variety of websites and on Facebook,
19   Instagram, TikTok, YouTube, Reddit, Google, and Bing/Yahoo search is attached hereto as Exhibit H.
20             24.   Verita also caused a press release to be distributed nationally via PR Newswire on October
21   18, 2024. The press release was distributed via PR Newswire’s national newsline as well as a General
22   College Media Influencer List and included syndicated distribution via AP News. According to PR
23

24

25        An impression is a count of the number of times a digital notice is displayed to a user. Impressions
          4


26   are used as a metric to measure the reach and exposure of an advertisement. Over 75 million paid digital
     media impressions were delivered to the target audience, meaning likely class members had over 75
27   million opportunities to be exposed to a Notice via the paid digital media notice alone. Class members
     received additional opportunities to learn about the settlement via the direct notice effort, press release,
28   and organic earned media.
                                                       -5-
                              DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                            CASE NO. 4:20-cv-03919-CW
            Case 4:20-cv-03919-CW          Document 717-4        Filed 03/03/25      Page 7 of 96



 1   Newswire, the press release was viewed 9,859 times and picked up by over 910 news outlets5 including
 2   CBS News Radio, Fox News, New York Times, WKRN Nashville, Tennessee, WGN9 in Chicago,
 3   Illinois, KDVR Fox31 in Denver, Colorado, KRON4 in San Francisco, California, KXAN-TV NBC-3 in
 4   Austin, Texas, and KSWB-TV Fox-5 in San Diego, California. A true and correct copy of the press
 5   release is attached hereto as Exhibit I.
 6           25.    As part of the notice program, Verita commenced an outreach effort the week of October
 7   21, 2024. This organic outreach effort was performed via social media,6 email, mail, and other methods
 8   to contact a variety of relevant influencers, current and former college athletes, college athletes based on
 9   school athletic team rosters during the relevant class periods, player associations, conferences, sports
10   groups, collegiate alumni associations, sports agents and sports marketers to solicit their assistance in
11   sharing the settlement information and encourage claims filing.
12           26.    On January 21, 2025, a second press release was distributed nationally via PR Newswire’s
13   national newsline as well as a General College Media Influencer List and a syndicated distribution via
14   AP News. According to PR Newswire, the press release was viewed 3,663 times and picked up by over
15   525 news outlets7 including WFLA in Tampa, Florida, KTLA Los Angeles, California, WJW-TV Fox-8
16   in Cleveland, Ohio, and WXIN-TV Fox-59 in Indianapolis, Indiana. A true and correct copy of the press
17   release is attached hereto as Exhibit J.
18                                          SETTLEMENT WEBSITE
19           27.    Verita established a website, www.collegeathletecompensation.com, dedicated to this
20   matter to provide information to the class members and to answer frequently asked questions. The
21   website URL was set forth in the Notice, Publication Notices, Long Form Notice, and the Claim Form.
22   Visitors of the website can download copies of the Notice, Claim Form, and other case-related
23   documents. Visitors can also submit claims online and upload supporting documentation. As of February
24

25

26
        5
          The total potential audience of the news outlets reporting the story directly from PR Newswire is
     160,985,946.
27      6
          In certain instances, athletes received a personal outreach via LinkedIn.
        7
          The total potential audience of the news outlets reporting the story directly from PR Newswire is
28   157,131,477.
                                                     -6-
                            DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                          CASE NO. 4:20-cv-03919-CW
          Case 4:20-cv-03919-CW            Document 717-4        Filed 03/03/25     Page 8 of 96



 1   20, 2025, there have been 838,271 users, 1,390,401 sessions/hits (active visits to the website), and
 2   4,801,982 page views of the Settlement Website.
 3          28.     From October 18, 2024, through January 31, 2025, Verita received, on average, 852
 4   claims per day. Throughout this claim period, the settlement website did not experience any mass outage
 5   or downtime. While Verita did receive notifications of isolated users having issues accessing the website,
 6   in each of those instances, the user self-reported that the issue was resolved on their end or Verita was
 7   able to troubleshoot the issues individual users were having through Verita’s call center agents. Since the
 8   activation of the website, there was not a single day that Verita received less than 80 web submissions.
 9   As noted above, there were some issues with school data reports—including incorrect eligibility center
10   identification numbers—but these issues were predominantly resolved and over 70,252 athletes were able
11   to file claims using their eligibility center ID or their Claim ID and PIN.
12          29.     On December 17, 2024, Verita publicized on the settlement website individual allocation
13   estimates for 392,298 athletes for whom Verita received school data. The allocation estimates were
14   updated if Verita received corrected, updated data from schools.
15                                            TELEPHONE HOTLINE
16          30.     Verita established and continues to maintain a toll-free telephone number, 1-877-514-
17   1777, for athletes to call and obtain information about the Settlement, and/or request a Notice Packet.
18   The telephone hotline became operational on October 18, 2024, and is accessible 24 hours a day, 7 days
19   a week. As of February 20, 2025, Verita has received a total of 5,069 calls to the telephone hotline.
20                                                 EMAIL BOX
21          31.     Verita      established    and      continues     to     maintain     an     email       box,
22   admin@collegeathletecompensation.com, for athletes to email and obtain information about the
23   Settlement. As of February 10, 2025, there have been a total number of 33,543 emails answered for the
24   Settlement. In addition, Verita has responded to a total of 2,914 voicemails. Based upon the above, the
25   total number of inquiries answered for the case to-date is 36,457. Verita implemented a live call center
26   team to handle emails and voicemails. The total number of hours worked on emails and voicemail call
27   backs is 2,018. On average, all emails were responded to within 1.5 days. Currently, Verita is unaware
28   of any class member who was not provided a response or assistance when requested.

                                                      -7-
                             DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                           CASE NO. 4:20-cv-03919-CW
          Case 4:20-cv-03919-CW            Document 717-4        Filed 03/03/25     Page 9 of 96



 1                                               CLAIM FORMS
 2          32.      The postmark deadline for class members to file claims in this matter was January 31,

 3   2025. To date, Verita has received 98,184 timely-filed web submissions and 5,718 late-filed web

 4   submissions. Of the 103,902 total web submissions, 29,233 were payment updates and 74,669 were claim

 5   form submissions. To the extent the Court accepts late submissions, Verita will provide updated numbers

 6   for the Final Approval Hearing.

 7          33.      Of the 29,233 payment updates, 28,816 were considered unique. Of the 74,669 claim

 8   form submissions, 73,115 were considered unique.

 9          34.      Of the total submissions, 47,069 were claim forms or payment updates from P5 students.

10   23,459 of those submissions were P5 football or basketball athletes. As of February 27, 2025, the online

11   portal is still active and 5,718 athletes have submitted claims post the claims filing deadline and website

12   visitors are continuing to file claims.

13          35.      Verita received a total of 101,931 unique claim forms or payment updates, which means

14   approximately 26.2% of all settlement class members participated in the settlement.

15                     REPORT ON EXCLUSION REQUESTS RECEIVED TO DATE
16          36.      The Notice informs class members that requests for exclusion from the Class must be

17   postmarked no later than January 31, 2025. As of the date of this declaration, Verita has received 844

18   requests for exclusion. Of the 848 requests for exclusions, 478 were considered duplicates, leaving a total

19   of 370 unique requests for exclusion. Of the 370 unique requests, one rescinded their opt out request, 18

20   were postmarked late, and 8 were from athletes whose name was not found in Verita’s records. It is

21   Verita’s understanding, after reviewing public sources, that these athletes competed outside the class

22   period and therefore are not class members. Additionally, one of the late opt outs has contacted Verita to

23   rescind their opt out. A list of the 343 valid class members requesting to be excluded is attached hereto

24   as Exhibit K.

25                                  OBJECTIONS TO THE SETTLEMENT
26          37.      The postmark deadline for class members to object to the settlement was January 31, 2025.

27   As of the date of this declaration, Verita has received one (1) objection to the settlement from Provonsha

28   Wells. This is a duplicate objection that was filed with the Court (ECF No.656).

                                                     -8-
                            DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                          CASE NO. 4:20-cv-03919-CW
          Case 4:20-cv-03919-CW          Document 717-4          Filed 03/03/25     Page 10 of 96



 1          38.     Verita was made aware of an objection from Alex Vogelsong declaring he was ineligible
 2   for Compensation for Athletic Services. On December 18, 2024, Alex Vogelsong submitted an online
 3   claim. Based on Auburn’s school data that was provided to Verita, Vogelsong is eligible to receive
 4   payment for Compensation for Athletic Services, Lost NIL Opportunities, and a Hubbard payment, and
 5   this was published on the settlement website accordingly.
 6                                        ADMINISTRATION COSTS
 7          39.     As of February 26, 2025, through the first distribution, Verita estimates its cost of
 8   administration to be $1,558,737.15. Verita’s expected total administration costs through final distribution
 9   to be $2,750,000-$2,950,000.
10          40.     Verita’s estimated fees and charges are based on certain information provided to Verita
11   by the parties as well as significant assumptions. Accordingly, the estimate is not intended to limit
12   Verita’s actual fees and charges, which may be less or more than estimated due to the scope of actual
13   services or changes to the underlying facts or assumptions.
14                                               CONCLUSION
15          41.     The direct notice effort alone is estimated to have reached more than 80% of settlement
16   class members. When combined with the targeted digital media campaign, the total reach of the Notice
17   Plan is estimated to have reached over 96% of likely settlement class members. The reach and frequency
18   of exposure among the various Settlement Classes was further supplemented by the press releases and
19   extensive outreach effort.
20          42.     It is Verita’s opinion, based on my individual expertise and experience and that of my
21   Verita colleagues, that the notice plan was the best practicable under the circumstances. The plan was
22   implemented as directed by the Court at preliminary approval and successfully delivered notice to the
23   settlement class members. It comported with the requirements of due process and of Fed. R. Civ. P. 23.
24   It provided for direct notice to all individuals whose contact information was reasonably available. The
25   Notice Plan as implemented is consistent with other effective settlement notice programs and meets the
26   “reasonably certain to inform” due process communications standard of Mullane v. Cent. Hanover Bank
27   & Trust Co., 339 U.S. 306, 315 (1950). The notice program is consistent with the guidelines set forth in
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                                                    -9-
                           DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                         CASE NO. 4:20-cv-03919-CW
          Case 4:20-cv-03919-CW         Document 717-4        Filed 03/03/25      Page 11 of 96



 1   Rule 23, the Manual for Complex Litigation, Fourth, and the FJC Checklist, which considers 70% reach
 2   among class members to be a “high percentage” and reasonable.
 3

 4          I declare under penalty of perjury under the laws of the United States of America that the

 5   foregoing is true and correct.

 6          Executed on this 3rd day of March 2025, at Ocean City, New Jersey.

 7

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 9                                               ___________________________________
10                                                         CARLA A. PEAK

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                                                    - 10 -
                           DECLARATION OF CARLA A. PEAK RE: NOTICE PROCEDURES
                                         CASE NO. 4:20-cv-03919-CW
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 12 of 96




           Exhibit A
           Case 4:20-cv-03919-CW               Document 717-4           Filed 03/03/25        Page 13 of 96

                                    Instructions to Submit Student-Athlete Census


Go to https://www.kccconnect.com/NCCOUpload to download the Census Template file in Microsoft Excel format.


Once Census is complete, go to https://www.kccconnect.com/NCCOUpload and click the “HERE” button to Log In. To
log in, you will be prompted to enter your School ID Code and PIN. Please use the following Login Information:
School ID Code: NCCO PIN Code: 0683.


a. Please provide the Name of the Institution and your Contact Information as requested on the Upload Census page.
b. Once you've provided the Name of the Institution and Contact Information, please upload your file by clicking the
“Choose File” button. If you need to add or remove files, simply click the plus or minus sign. Once you have your files
selected, click “Submit.” to securely upload the student-athlete list(s) to the Notice Administrator. If you have any
difficulties, please contact the Notice Administrator by email at SchoolAdmin@collegeathletecompensation.com.


You will receive an email confirmation after you have successfully submitted the student-athlete Census.


                                   Instructions to Complete Student-Athlete Census


Please review the instructions and complete the Census before returning to the site to upload your data.
Completing a Census means providing the first, middle (if available) and last name, NCAA EC ID Number, last known
email address or last known street address, city, state, ZIP code, semester started and ended, and sport played, for all
athletes participating in sports at your institution from Fall 2019 to September 15, 2024.
For football and basketball athletes, it means providing additional information and for a longer time period. It means
providing the following for all student-athletes participating in football and basketball at your institution from Fall 2016
to September 15, 2024: first, middle (if available) and last name, NCAA EC ID, last known email address or last known
street address, city, state, ZIP code, semester started and ended, sport played, the annual GIA level received or the highest
GIA level received (by decimal amount), semesters of ineligibility, transfer year, and (for football players only) position.



While Excel is a common format for most institutions, and the default Census form is an Excel file, you may already have
this data in another tabular format, such as a tab-delimited text file. For security and consistency purposes, please transfer
your data to the default Census form provided, being sure to adhere to the below Data Submission Guidelines.


                                               Data Submission Guidelines
Types of Data Files
Data is most efficiently and accurately transmitted within the census template provided. Excel is typically the most
convenient method for small to moderate volumes of data. If transferring large volumes of data (hundreds of thousands
or millions of records), please upload within multiple files of the provided census template.
Excel
The file should contain one sheet per dataset. If the number of records exceeds the capacity of the Excel sheet (too many
records) such that the records would need to be split among two or more sheets, an additional copy of the provided census
template should be utilized.
Numeric values should be actual values and not formula or calculation results.


                                                              1
           Case 4:20-cv-03919-CW             Document 717-4          Filed 03/03/25        Page 14 of 96

Note: Please include the heading row with the exact names listed below.


                                        Appendix A: General Data Structure
Regardless of the type of file for transfer, the data should contain a single record or line for each student-athlete with
separate data elements (field or column) for each of the following pieces of information:


Athlete First Name *                                             Semester Start*
Athlete Middle Name or Initial                                   Semester End*
Athlete Last Name *                                              Division I Sport*
Athlete Street Address *                                         Additional Division I Sport
Athlete City *
Athlete State *                                                  For FB and BB athletes only (GIA decimal amount)*
Athlete ZIP Code *
Athlete Foreign Province                                         For FB and BB athletes only (Redshirt semester(s) /
                                                                 semester(s) of ineligibility)*
Athlete Foreign Postal Code
                                                                 For FB and BB athletes only (Transfer_Year)*
Athlete Foreign Country
                                                                 For FB Athletes only (Position)*
Athlete Phone Number
                                                                 For FB and BB athletes only (Student Athlete Date of
Athlete Email
                                                                 Birth(DOB))
Athlete NCCA EC ID Number*


* Those elements marked with an asterisk are generally required for all uploads.


If you have reached out to the Notice Administrator to provide data structured by year rather than athlete, please confirm
you have received a separate template for this data upload.
Thank you for your time and attention. Should you have any questions, please contact the Notice Administrator by email
at SchoolAdmin@collegeathletecompensation.com.
Litigation Notice Administrator




                                                            2
                                                                        Case 4:20-cv-03919-CW                                                           Document 717-4                                              Filed 03/03/25                                        Page 15 of 96


                            Please provide contact information for each student below. Required fields are marked with an asterisk (*).
                            Please provide email or mailing address. Required fields are marked with an asterisk (**).
                            For Power 5 including ND.
                            Years 2015-16 to 2024-25.                                                                                                                   If athlete participated in multiple sports, then please include separate rows for each sport.

                                                                                                                                                                                                                                                        For FB and BB
                                                                                                                                                                                                                                                        athletes only                                                                                  Student
                                                 Student                                                                                                                                                                                                (Redshirt                                                                           Student    Athlete   Student
             Student                             Athlete                            Student                                                 Student   Student                                                                    For FB and BB          semester(s) /     For FB and BB                         For FB and BB athletes only Athlete    Foreign   Athlete
NCAA EC ID   Athlete        Student Athlete      Middle Name Student Athlete        Athlete Email Student Athlete         Student Athlete   Athlete   Athlete   Semester              Semester              Division I Sport     athletes only (GIA     semester(s) of    athletes only      For FB Athletes    (Student Athlete Date of    Foreign    Postal    Foreign
Number*      Institution*   First Name*          or Initial  Last Name*             Address**     Street Address**        City**            State**   Zip**     Start_Year*           End_Year*             played*              decimal amount)*       ineligibility)*   (Transfer_Year)*   only (Position)*   Birth(DOB))                 Province   Code      Country
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 16 of 96




           Exhibit B
           Case 4:20-cv-03919-CW             Document 717-4          Filed 03/03/25        Page 17 of 96

                                   Instructions to Submit Student-Athlete Census


Go to https://www.kccconnect.com/NCCOUpload to download the Census Template file in Microsoft Excel format.


Once Census is complete, go to https://www.kccconnect.com/NCCOUpload and click the “HERE” button to Log In. To
log in, you will be prompted to enter your School ID Code and PIN. Please use the following Login Information:
School ID Code: NCCO PIN Code: 0683


a. Please provide the Name of the Institution and your Contact Information as requested on the Upload Census page.
b. Once you've provided the Name of the Institution and Contact Information, please upload your file by clicking the
“Choose File” button. If you need to add or remove files, simply click the plus or minus sign. Once you have your files
selected, click “Submit.” to securely upload the student-athlete list(s) to the Notice Administrator. If you have any
difficulties, please contact the Notice Administrator by email at SchoolAdmin@collegeathletecompensation.com.


You will receive an email confirmation after you have successfully submitted the student-athlete Census.


                                  Instructions to Complete Student-Athlete Census


Please review the instructions and complete the Census before returning to the site to upload your data.
Completing a Census means providing the first, middle (if available) and last name, last known email address, last known
street address, city, state, ZIP code, and NCAA EC ID Number for all student-athletes participating in sports at your
institution from Fall 2019 to September 15, 2024.


                                             Data Submission Guidelines
Types of Data Files
Data is most efficiently and accurately transmitted within the census template provided. Excel is typically the most
convenient method for small to moderate volumes of data. If transferring large volumes of data (hundreds of thousands
or millions of records), please upload within multiple files of the provided census template.
Excel
The file should contain one sheet per dataset. If the number of records exceeds the capacity of the Excel sheet (too many
records) such that the records would need to be split among two or more sheets, an additional copy of the provided census
template should be utilized.
Numeric values should be actual values and not formula or calculation results.


Note: Please include the heading row with the exact names listed below.


                                        Appendix A: General Data Structure
Regardless of the type of file for transfer, the data should contain a single record or line for each student-athlete with
separate data elements (field or column) for each of the following pieces of information:


Athlete First Name *                                             Athlete Middle Name or Initial
                                                            1
           Case 4:20-cv-03919-CW             Document 717-4          Filed 03/03/25        Page 18 of 96

Athlete Last Name *                                              Athlete Foreign Country
Athlete Street Address *                                         Athlete Email*
Athlete City *                                                   Athlete NCCA EC ID Number*
Athlete State *                                                  Year_Start Year
Athlete ZIP Code *                                               Year_End
Athlete Foreign Province                                         Division I Sport Played_Year
Athlete Foreign Postal Code


* Those elements marked with an asterisk are generally required for all uploads.
If you have reached out to the Notice Administrator to provide data structured by year rather than athlete, please confirm
you have received a separate template for this data upload.
Thank you for your time and attention. Should you have any questions, please contact the Notice Administrator by email
at SchoolAdmin@collegeathletecompensation.com.
Litigation Notice Administrator




                                                            2
                                                   Case 4:20-cv-03919-CW                                       Document 717-4                         Filed 03/03/25                    Page 19 of 96


                            Please provide contact information for each student below. Required fields are marked with an asterisk (*).
                            Please provide email or mailing address. Required fields are marked with an asterisk (**).
                            For all non-Power Five schools
                            Years 2019 to September 15, 2024.




                                                                                                                                                                                                                                        Student
                                                 Student                                                                                                                                                                       Student  Athlete   Student
             Student                             Athlete                             Student                                                Student   Student                                                                  Athlete  Foreign   Athlete
NCAA EC ID   Athlete        Student Athlete      Middle Name    Student Athlete      Athlete Email Student Athlete        Student Athlete   Athlete   Athlete                                                                  Foreign Postal     Foreign
Number*      Institution*   First Name*          or Initial     Last Name*           Address**     Street Address**       City**            State**   Zip**     Division I Sport Played_Year Year_Start Year   Year_End Year   Province Code      Country
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 20 of 96




           Exhibit C
                          Case 4:20-cv-03919-CW             Document 717-4           Filed 03/03/25         Page 21 of 96


           For each academic year, please provide athletic information for each student below. Required fields are marked with an asterisk (*).

           For Power 5 including ND.
           Years 2015-16 to 2024-25.                                If athlete participated in multiple sports, then please include separate rows for each sport.

                                                                                                                 For FB and BB
                                                                                                                 athletes only
                                                                                                                 (Redshirt
                                Student                                                   For FB and BB          semester(s) /
Academic   Student Athlete      Athlete Middle Student Athlete      Division I Sport      athletes only (GIA     semester(s) of          For FB Athletes only
Year*      First Name*          Name or Initial Last Name*          played*               decimal amount)*       ineligibility)*         (Position)*
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 22 of 96




           Exhibit D
         Case 4:20-cv-03919-CW    Document 717-4   Filed 03/03/25   Page 23 of 96




Weekly Data Report
All Schools
Arizona State University
Auburn University
Baylor University
Boston College
Brigham Young University
Butler University
Clemson University
Creighton University
DePaul University
Duke University
Florida State University
Georgetown University
Georgia Tech
Indiana University
Iowa State University
Kansas State University
Louisiana State University
Marquette University
Michigan State University
Mississippi State University
North Carolina State University
Northwestern University
Ohio State University
Oklahoma State University
Oregon State University
Penn State University
Providence College
Purdue University
Rutgers University
Saint John's University
Seton Hall University
Southern Methodist University
Stanford University
Syracuse University
Texas A&M University
Texas Christian University
Texas Tech University
University of Alabama
          Case 4:20-cv-03919-CW               Document 717-4   Filed 03/03/25   Page 24 of 96


University of Arizona
University of Arkansas
University of California – Berkeley
University of California – Los Angeles
University of Central Florida
University of Cincinnati
University of Colorado – Boulder
University of Connecticut
University of Florida
University of Georgia
University of Houston
University of Illinois
University of Iowa
University of Kansas
University of Kentucky
University of Louisville
University of Maryland
University of Miami
University of Michigan
University of Minnesota
University of Mississippi
University of Missouri
University of Nebraska
University of North Carolina at Chapel Hill
University of Notre Dame
University of Oklahoma
University of Oregon
University of Pittsburgh
University of South Carolina
University of Southern California
University of Tennessee
University of Texas – Austin
University of Utah
University of Virginia
University of Washington
University of Wisconsin
Vanderbilt University
Villanova University
Virginia Tech
Wake Forest University
Washington State University
West Virginia University
Xavier University
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 25 of 96




           Exhibit E
Case 4:20-cv-03919-CW
       Court-Approved                 Document    717-4
                                        House v. NCAA           Filed 03/03/25        Page 26 of 96
           Legal Notice                  Settlement Administrator
                                         P.O. Box 301134
                                         Los Angeles, CA 90030-1134




  This is an important notice about
      a class action settlement.         «Barcode»
                                         Postal Service: Please do not mark barcode
                                         ClaimID: <<ClaimID>>
                                         PIN Code: <<PIN>>
                                         NCCO: ClaimID: «ClaimID»
              VISIT THE
                                         PIN: «PIN»
              SETTLEMENT
              WEBSITE BY
                                         «First1» «Last1»
              SCANNING                   «CO»
              THE PROVIDED
              QR CODE                    «Addr2»
                                         «Addr1»
  NCCO                                   «City», «St» «Zip»
                                         «Country»
Case 4:20-cv-03919-CW                   Document
                                            United States717-4        Filed 03/03/25
                                                          District Court                         Page 27 of 96
                                       In re: College Athlete NIL Litigation
                                              Case No. 4:20-cv-03919
                                              Class Action Notice
                                      Authorized by the U.S. District Court

   Were you a Division            There is a $2,576,000,000              To see how much money you may get, visit
   I college athlete at           settlement of a lawsuit.               www.collegeathletecompensation.com on
   any time between                                                      December 17, 2024.
                                  You may be entitled to money.
   2016 and 2024 who
                                                                         Scan the QR code to learn about your
   was subject to                 The settlement also
                                                                         rights and options.
   NCAA scholarship               changes NCAA
   and compensation               scholarship and                        Respond by January 31, 2025, if needed.
   rules?                         compensation rules
                                  in the future.


  Key Things to Know:
       •    This is an important legal document.
       •    If you take no action, any ruling from the Court will apply to you, and you will not be able to sue the
            NCAA, or any of the Power Five Conferences, or their member institutions about the same issues.
       •    NCAA compensation rules are changing as part of this settlement. To understand how you are
            impacted, learn more at www.collegeathletecompensation.com or by scanning the QR code.
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 28 of 96




            Exhibit F
             Case 4:20-cv-03919-CW             Document 717-4          Filed 03/03/25       Page 29 of 96
ClaimID: <<ClaimID>>
PIN: <<PIN>>
Dear <<First1>> <<Last1>>,
                      In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.)
 If You Were a Division I College Athlete Between 2016 and 2024, You Could Get Money
                            from a Class Action Settlement.
                                          CLICK HERE TO FILE YOUR
                                                CLAIM FORM
                                          A federal court authorized this notice.

                                  YOUR CLAIM ID                                 <<ClaimID>>
                                            YOUR PIN                                <<PIN>>
                            USE THESE UNIQUE NUMBERS WHEN FILING
                         YOUR CLAIM FORM TO RECEIVE A CLASS PAYMENT.
You are receiving this notice because school records indicate you are included in this class action settlement and may be
eligible for a payment. To see how much money you could recover, and ensure you receive your payment, update your
contact information and payment method at www.collegeathletecompensation.com and enter the Claim ID and PIN
provided above. Estimated payments will be updated approximately 60 days from the date you receive this notice and will
be dependent on the information your school provided to us.
                                               What is this lawsuit about?
This lawsuit, In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.), claims that NCAA limits on
the number and amounts of athletic scholarships available and NCAA limits on compensation and benefits that college
athletes can receive for their athletic services and their names, images, and likenesses (NIL) violate the antitrust laws.
                                              Are NCAA rules changing?
As part of the Settlement, Defendants have also agreed to change compensation rules going forward. Conferences and
schools, starting in Fall 2025, may increase the number of athletic scholarships provided and may provide direct benefits
for NIL and participation in college sports, up to an aggregate yearly amount set forth in the Settlement. These increased
compensation opportunities may impact you if you compete as a college athlete beginning in Fall 2025. Also as part of the
Settlement, NCAA rules regarding the payments that student-athletes will be permitted to receive from third parties for
their NIL while remaining eligible to play Division I sports will be modified.
To see how compensation rules will be changed going forward, access a copy of the Settlement by visiting
www.collegeathletecompensation.com.
                                              Who is a part of the lawsuit?
You are a member of the Settlement Classes (i.e., a “Class Member”) if:
    •   You received or will receive a full Grant-in-Aid scholarship and compete on, competed on, or will compete on a
        Division I men’s basketball team or an FBS football team, at a college or university that is a member of one of the
        Power Five Conferences (including Notre Dame), and you have been or will be declared initially eligible for
        competition in Division I at any time from June 15, 2016 through September 15, 2024. This is referred to as the
        “Settlement Football and Men’s Basketball Class.”
    •   You received or will receive a full Grant-in-Aid scholarship and compete on, competed on, or will compete on a
        Division I women’s basketball team at a college or university that is a member of the Power Five Conferences
        (including Notre Dame), and you have been or will be declared initially eligible for competition in Division I at
        any time from June 15, 2016 through September 15, 2024. This is referred to as the “Settlement Women’s
        Basketball Class.”
    •   You compete on, competed on, or will compete on a Division I athletic team and you have been or will be
        declared initially eligible for competition in Division I at any time from June 15, 2016 through September 15,
        2024. This is referred to as the “Settlement Additional Sports Class.”
             Case 4:20-cv-03919-CW             Document 717-4           Filed 03/03/25       Page 30 of 96

    •   You compete on, or competed on, or will compete on a Division I athletic team at any time between June 15,
        2020 through the end of the Injunctive Relief Settlement Term as defined in the Settlement. The Injunctive Relief
        Settlement Term is the ten (10) Academic Years following the date of Final Approval of the Settlement. This is
        referred to as the “Settlement Declaratory and Injunctive Relief Class.”
                                                      What do I get?
Defendants have agreed to pay $2,576,000,000 and change compensation rules going forward to end this lawsuit. You
may be eligible to receive some of this money. The amount of money you get will depend on which class you are in and
what you qualify for according to the below:
    •   Broadcast NIL payments will be a set, yearly amount for each Power Five FBS Football and Division I Basketball
        player based on the sport you competed in, the specific years played between 2016-2024, and the conference in
        which you competed. Payments will be equal for members competing in the same sport in the same conference in
        the same year. Broadcast NIL, defined by the lawyers in this case, refers to the use of an athlete’s NIL via
        broadcasts like tv, radio, internet and other media.
    •   Videogame NIL payments will be a set, yearly amount for each athlete who competed in FBS Football or
        Division I Men’s Basketball based on the number of years you competed between 2016-2024 and the number of
        claims filed by class members. Total payments to be shared equally each year among eligible athletes are based
        on a fixed percentage applied to estimated videogame revenue that would have occurred had a game been in
        existence each year.
    •   Payments for additional compensation for your athletic services will be based on the years you competed in
        Division I between 2019-2024, the sport you competed in, the school you competed for, and the number of claims
        filed by class members, among other criteria. For the athletes competing in Power Five Football or Basketball,
        payments will also be based on the scholarship you received and performance statistics, among other criteria.
    •   Lost NIL payments will be based on the amount of money you received from third parties for your NIL after July
        1, 2021, the specific years you competed between 2016-2021, the sport you competed in, the school(s) you
        competed for, your performance statistics, and the number of claims filed by class members. “Lost NIL” refers to
        the lost opportunity to receive money from third parties for your NIL.
Your payment also depends on how much money the Court approves for attorneys’ fees, class representative awards, and
litigation and settlement costs. These payments, including attorneys’ fees, will be paid out yearly over a ten-year period,
with equal amounts paid each year.
                                                  How do I get money?
If you got this notice, and you received a full Grant-in-Aid Scholarship and played FBS Football, Division I Men’s
Basketball, or Division I Women’s Basketball for a school that competes in a Power Five Conference (ACC, Big Ten, Big
12, Pac-12, SEC), you need to update only your contact information and preferred method of payment to get money.
Then, you will automatically receive a payment if the settlement is approved and becomes final. To see an estimate of
your payment amount or update your contact information and/or payment method, visit
www.collegeathletecompensation.com.
If you (1) played a sport other than FBS Football or Division I Basketball, or received less than a full scholarship, at a
school that is in a Power Five Conference (ACC, Big Ten, Big 12, Pac-12, SEC), or (2) competed in any sport for a school
not within a Power Five Conference, you will need to complete a Claim Form.
If you received NIL compensation since July 1, 2021, and you competed prior to July 1, 2021, you can confirm your deal
was reported by your school here, and then you will automatically receive payment if your contact information and
payment method is updated. If your NIL deal was not reported by your school, you will need to file a claim form.
For more details about whether a claim form is required, visit www.collegeathletecompensation.com.
                                                   What are my rights?
If you do nothing, you will be bound by the Court’s decisions, even if you do not receive a payment under the Settlement.
If you want to keep your right to sue the settling Defendants, or their member institutions, instead of potentially getting
money from this settlement, you must opt out by January 31, 2025. You cannot opt out of the future rule changes
(injunctive relief), but you may object. Please note that if you opt out, you will not receive any money from this
Settlement. If you want to stay in the Settlement but do not agree with any part of it, you may object to it by January 31,
             Case 4:20-cv-03919-CW              Document 717-4          Filed 03/03/25       Page 31 of 96
2025. Details about these options are available by clicking here or by going to www.collegeathletecompensation.com.
The Court will hold a hearing remotely and in person on April 7, 2025—this date is subject to change—to consider
whether to approve the Settlement and a request for attorneys’ fees and award for each of the class representatives. You or
your own lawyer may request to speak at the hearing at your own expense by submitting a written objection to the Court
electronically, by mail, or in person and indicating in the objection that you or your lawyer would like to speak at the
hearing. The Court may not allow everyone who requests to speak an opportunity to do so, but to ensure that the Court
considers your request to speak at the hearing, you must file a written objection indicating that you or your lawyer would
like to speak at the hearing.
Please go to www.collegeathletecompensation.com for more detailed directions about where the hearing will be held in
person and how you can access the hearing remotely, and about what to include in, and where to send, your objection. The
website will also include the most updated time and date of the hearing, as will the docket for the case, which can be
accessed at https://ecf.cand.uscourts.gov.
NOTE: The Settlement Agreement does not release the claims currently raised in the Complaint in Choh v. Brown
University, et al., No. 3:23-cv-00305-AWT (D. Conn.) (“Choh”), against the Ivy League and Ivy League member
institutions (“Choh Defendants”), challenging an alleged agreement among the Choh Defendants not to award athletic
scholarships or otherwise provide any compensation or education-related reimbursements for athletic services as
permitted under then-applicable NCAA rules. The previously filed Choh claims arise out of unique aspects of rules
applicable within the Ivy League alone. The Settlement Agreement and its release provisions otherwise fully apply to
student-athletes who are in the Settlement Classes, including, but not limited to, Ivy League student-athletes, and likewise
otherwise fully apply to Releasees as defined in the Settlement, which includes, but is not limited to, the Ivy League, Ivy
League member institutions, and Defendants in this Action.
The Settlement Agreement also does not release the claims currently stated in the Complaint in Johnson, et al. v. National
Collegiate Athletic Association, et al., 2:19-cv-05230-JP (E.D. Pa.); claims under the Fair Labor Standards Act, 29
U.S.C.A. § 201 et seq. or any other federal labor laws, or claims under any analogous state labor laws; or claims under
Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., other than any claims arising out of or relating
to the distribution of the Gross Settlement Fund.
You do not need to opt out of this Settlement in order to pursue remedies in the lawsuits listed above.
                                             What if I received two notices?
If you received two notices by email and/or mail, NCAA records indicate that you are included in both this settlement and
the Hubbard v. National Collegiate Athletic Association settlement, Case No. 4:23-cv-01593. You may be eligible to
receive money from both settlements.
Go to www.collegeathletecompensation.com to file a Claim Form in both settlements, if required, for you to receive all
the money you qualify for in both settlements.
                                                        Questions?
        www.collegeathletecompensation.com          admin@collegeathletecompensation.com           1-877-514-1777
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 32 of 96




           Exhibit G
            Case 4:20-cv-03919-CW             Document 717-4         Filed 03/03/25       Page 33 of 96
ClaimID: <<ClaimID>>
PIN: <<PIN>>
Dear <<First1>> <<Last1>>,
                       In re College Athlete NIL Litigation, Case No. 4:20-cv-03919-CW (N.D. Cal.)
            Hubbard v. National Collegiate Athletic Association, Case No. 4:23-cv-01593-CW (N.D. Cal.)
Time is running out for Division I Athletes to participate in class action settlements.
                                        CLICK HERE TO CLAIM YOUR
                                                 SHARE


                                  YOUR CLAIM ID                               <<ClaimID>>
                                            YOUR PIN                            <<PIN>>
                          USE THESE UNIQUE NUMBERS TO FILE YOUR CLAIM
Division I Athletes have until January 31, 2025 to claim their share and receive a payment from one or both
class action settlements. Forms may be submitted online at collegeathletecompensation.com.
          If you have already participated online, then no further action is required at this time.
You must file a Claim Form at collegeathletecompensation.com to receive a settlement payment if:
   •   You are a Division I athlete other than a full grant-in-aid Power Five Football or Basketball player and
       you want to receive payments for participation in college sports;
   •   You are a Football or Basketball athlete not in the Power Five and you want to receive payment for
       videogames;
   •   You are a Division I athlete who competed in the same sport prior to and after July 1, 2021, and received
       an NIL deal after July 1, 2021 that has not been provided to Plaintiffs by your school (check
       www.collegeathletecompensation.com to find out if your deal was reported to Plaintiffs); or
   •   You competed on a Division I athletic team that was not a basketball team in the Big East or a team in
       the Power Five Conferences anytime during the 2019-2020, 2020-2021, or 2021-2022 academic years
       and you would have qualified for an academic achievement award at your school.
Payments under the settlements will be automatically made to athletes that played if they provide current
contact information and a preferred payment method at collegeathletecompensation.com:
   •   Power Five FBS Football and Men’s Division I Basketball athletes who received a full grant-in-aid for
       broadcast NIL awards, videogame NIL awards, athletic services awards, and awards for lost third-party
       payments for NIL (if NIL deal information has been provided to Plaintiffs by their school);
   •   Power Five Women’s Division I Basketball athletes who received a full grant-in-aid for broadcast NIL
       awards, athletic services awards, and awards for lost third-party payments for NIL (if NIL deal
       information has been provided to Plaintiffs by their school); and
   •   Any Division I athlete who competed in the same sport prior to and after July 1, 2021, and received NIL
       payments from a third party after July 1, 2021, and information about those payments has been provided
       to Plaintiffs by their school.
   •   All Power Five athletes and Big East Basketball athletes who competed on a team anytime during the
       2019-2020, 2020-2021, or 2021-2022 academic years.
                           Questions can be sent to admin@collegeathletecompensation.com
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 34 of 96




           Exhibit H
                     Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 35 of 96




Digital Media PoP
In re: College Athlete NIL Litig. and Hubbard v. NCAA
                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 36 of 96

AtlantaNewsFirst.com | 300x600




                                                                                            2
                Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 37 of 96

CollegeHockeyNews.com | 728x90




                                                                                          3
                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 38 of 96

FieldGulls.com | 728x90




                                                                                            4
                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 39 of 96

InsideNOVA.com | 300x600




                                                                                           5
                Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 40 of 96

NBCChicago.com | 300x250




                                                                                          6
                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 41 of 96

NYDailyNews.com | 300x600




                                                                                           7
                Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 42 of 96

Row2K.com | 300x250




                                                                                          8
                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 43 of 96

SMMirror.com | 300x600




                                                                                           9
                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 44 of 96

USATF.org | 300x250




                                                                                           10
                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 45 of 96

USFigureSkating.org | 728x90




                                                                                            11
                    Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 46 of 96

VSiN.com | 728x90




                                                                                              12
                Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 47 of 96

WatchUFA.com | 300x250




                                                                                          13
                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 48 of 96

YouTube.com | 6s video




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 49 of 96

Google Search | Text Ad




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 50 of 96

Bing/Yahoo Search | Text Ad




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                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 51 of 96

Facebook Feed | Desktop




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                 Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 52 of 96

Facebook Feed | Desktop




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 53 of 96

Facebook Feed | Mobile




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 54 of 96

Facebook Feed | Mobile




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 55 of 96

Facebook Feed | Mobile




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 56 of 96

Facebook Feed | Mobile




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 57 of 96

Facebook Feed | Stories




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 58 of 96

Facebook Feed | Stories




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 59 of 96

Facebook Feed | Stories




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 60 of 96

Facebook Feed | Stories




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 61 of 96

Instagram Feed | Desktop




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 62 of 96

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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 63 of 96

Instagram Feed | Desktop




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 64 of 96

Instagram Feed | Desktop




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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 65 of 96

Instagram Feed | Mobile




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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 66 of 96

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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 67 of 96

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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 68 of 96

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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 69 of 96

Instagram Feed | Stories




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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 70 of 96

Instagram Feed | Stories




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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 71 of 96

Instagram Feed | Stories




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                   Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 72 of 96

Instagram Feed | Stories




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 73 of 96

Reddit | Promoted Post




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 74 of 96

Reddit | Promoted Post




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 75 of 96

Reddit | Promoted Post




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                  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 76 of 96

Reddit | Promoted Post




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                     Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 77 of 96

TikTok | Image Ads




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                     Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 78 of 96

TikTok | Image Ads




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                     Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 79 of 96

TikTok | Image Ads




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                     Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 80 of 96

TikTok | Image Ads




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Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 81 of 96




             Exhibit I
             Case 4:20-cv-03919-CW        Document 717-4       Filed 03/03/25    Page 82 of 96




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Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 85 of 96




             Exhibit J
    Case 4:20-cv-03919-CW          Document 717-4        Filed 03/03/25      Page 86 of 96




Time is running out for Division I Athletes to participate in
class action settlements
SAN FRANCISCO, January 21, 2025 /PRNewswire/ -- Division I Athletes have one more week
to file a Claim Form or provide their contact/payment information in the In re College Athlete
NIL Litigation and Hubbard v. National Collegiate Athletic Association settlements, announces
Hagens Berman Sobol Shapiro LLP and Winston & Strawn LLP.

Division I Athletes have until January 31, 2025 to file a Claim Form, or submit contact
information and a preferred payment method, to receive a payment from one or both class action
settlements. Information must be submitted online at collegeathletecompensation.com.

Payments under the settlements will be automatically made to the following athletes who have
updated their contact information and payment method:

       Power Five FBS Football and Men’s Division I Basketball athletes who received a full
       grant-in-aid for broadcast NIL awards, videogame NIL awards, athletic services awards,
       and awards for lost third-party payments for NIL (if NIL deal information has been
       provided to Plaintiffs by their school);

       Power Five Women’s Division I Basketball athletes who received a full grant-in-aid for
       broadcast NIL awards, athletic services awards, and awards for lost third-party payments
       for NIL (if NIL deal information has been provided to Plaintiffs by their school); and

       Any Division I athlete who competed in the same sport prior to and after July 1, 2021,
       and received NIL payments from a third party after July 1, 2021, and information about
       those payments has been provided to Plaintiffs by their school.

       All Power Five athletes and Big East Basketball athletes who competed on a team
       anytime during the 2019-2020, 2020-2021, or 2021-2022 academic years.

You must file a Claim Form to receive a settlement payment if:

       You are a Division I athlete other than a Power Five full grant-in-aid Football or
       Basketball player and you want to receive payments for participation in college sports
       from 2019-2024;

       You are a Football or Men’s Basketball athlete not in the Power Five and you want to
       receive payment for videogames from 2016-2024;

       You are a Division I athlete who competed in the same sport prior to and after July 1,
       2021, and received an NIL deal after July 1, 2021 that has not been provided to Plaintiffs
       by your school (check www.collegeathletecompensation.com to find out if your deal was
       reported to Plaintiffs); or
    Case 4:20-cv-03919-CW           Document 717-4        Filed 03/03/25      Page 87 of 96




       You competed on a Division I athletic team that was not a basketball team in the Big East
       or a team in the Power Five Conferences anytime during the 2019-2020, 2020-2021, or
       2021-2022 academic years and you would have qualified for an academic achievement
       award at your school.

Payments are the result of settlements reached in class-action lawsuits alleging the NCAA and
Power Five Conferences broke antitrust laws by agreeing not to provide benefits and
compensation to college athletes for their participation in college sports or for the use of their
names, images and likenesses (NIL), agreeing to limit scholarships and scholarship amounts, and
agreeing not to provide college athletes academic achievement awards.

   “We strongly encourage NCAA college athletes to participate before time runs out. They
   have waited far too long to reap the benefits of this historic, industry-changing settlement.”
   said Steve Berman, managing partner and co-founder of Hagens Berman and Jeffrey L.
   Kessler, Winston’s Co-Executive Chairman.

SOURCE Hagens Berman Sobol Shapiro LLP and Winston & Strawn LLP

Media contact (press only): Steve Berman (steve@hbsslaw.com), Jeffrey Kessler
(jkessler@winston.com)
Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 88 of 96




           Exhibit K
        Case 4:20-cv-03919-CW             Document 717-4     Filed 03/03/25   Page 89 of 96




College Athlete Compensation Settlement

                              Opt Outs - House
          Count                                     343

               ClaimID                    First1                 Last1
        1 10185748201         AARON                       HOLIDAY
        2 10183380501         AARON                       SABATO
        3 9000008601          AARON                       SCHUNK
        4 10064367001         AARON DEVON                 EPPS
        5 10575357901         AARON JOSHUA                NESMITH
        6 10298903501         AASHARI                     CROSSWELL
        7 10266507201         ABIGAIL                     HOOD
        8 10168453801         ABIGAIL                     SIMINSKI
        9 10169368001         ADAM                        KUNKEL
       10 10095957001         ADDISON                     OOMS
       11 10264966201         ADRIAN                      DEL CASTILLO
       12 10132544701         AIDAN                       ROBBINS
       13 10105793301         AKAYLEB AI                  EVANS
       14 10117632601         ALARIC                      JACKSON
       15 10624939301         ALERICK                     SOULARIE
       16 10132110701         ALEVA                       HIFO
       17 10293841601         ALEX                        FONTENOT
       18 10327506001         ALEX JEFFREY                HORNIBROOK
       19 10429454101         ALEXANDER                   BACHMANN
       20 10072300701         ALEXANDER CARL              SHAW
       21 10301716101         ALEXANDER JORDAN            PERRY
       22 10059430001         AL-MALIK                    HAUSMAN
       23 10551825601         AMANI                       ORUWARIYE
       24 20000646501         AMARI                       CATCHINGS
       25 9000045201          AMARVEER                    SINGH

       26 10272678401         AMBER C                     MELGOZA
       27 10132381501         AMMON                       HANNEMANN
       28 9000013601          ANDREW                      ABBOTT
       29 10105591201         ANDREW STEPHEN              LOCK
       30 20001783101         ANTHONY                     GILL
       31 10174446801         ANTHONY                     GOULD
       32 10059595901         ANTHONY                     PANDY
       33 10266685401         ASA                         LACY
       34 10138756801         AUSTIN                      SEIBERT
 Case 4:20-cv-03919-CW   Document 717-4    Filed 03/03/25   Page 90 of 96

35 10670843001   AUSTIN CEDRIC          MONTGOMERY
36 10073653101   AVA JOYCE              ANDERSON
37 10130570901   AZEEZ O                OJULARI
38 10132309801   BAYLOR                 ROMNEY
39 10122106001   BELLA SARA KRISTIANA   FISCO
40 10132370001   BENJAMIN               BYWATER
41 60013067301   BENJAMIN               RICHARDSON
42 10081666601   BENJAMIN JAMES         BOULWARE
43 10132377301   BLAKE                  FREELAND
44 10132286001   BRACKEN                EL-BAKRI
45 10264683101   BRADLEY                KAAYA
46 9000044001    BRADY                  MCCONNELL
47 10215885001   BRADY                  OCONNELL
48 10132091701   BRAYDEN                ELBAKRI
49 10264679001   BREVIN                 JORDAN
50 10292247001   BRITTANY               BREWER
51 10423123301   BRYCE P                LOVE
52 10672726601   BRYCE RAYMOND          NZE

53 10406819001   CADE MICHAEL           MCNAMARA
54 10289394901   CADE P                 CUNNINGHAM
55 10093737801   CADEN                  HAWS
56 9000004501    CAITLIN S              DRISCOLL
57 10138853601   CALEB                  WILLIAMS
58 10074765601   CAMERON                ECHOLS-LUPER
59 10098444701   CAMERON                KRUTWIG
60 10089020901   CAMERON                TAYLOR BRITT
61 10577546001   CAMERON                VALLADARES
62 10271516601   CAMERON DAVID          SERIGNE
63 10256068701   CAMERON JAMES          RISING
64 10146449601   CARMEN ALEXANDER       MLODZINSKI
65 10266372501   CARSON                 GREEN
66 50004102401   CARTER                 CUNNINGHAM
67 10267690201   CASSIUS JEROME         STANLEY
68 10279788201   CAYDEN B               WALLACE
69 10107554601   CHAD                   KELLY
70 10115364801   CHARLES                MATTHEWS
71 10131242801   CHARLES KENT           WOERNER
72 10265213201   CHARLESTON             RAMBO
73 9000037401    CHASE                  STRUMPF
74 10132279301   CHAZ                   AH YOU
75 10183911001   CHAZZ                  SURRATT
76 10147798301   CHLOE LEE              KITTS
77 9000011001    CHRIS                  MCMAHON
78 10119475401   CLEVELAND ALAN         JACKSON
79 10181757501   COLBY                  PARKINSON
  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 91 of 96

 80 10267103501   COLTON                PRATER
 81 10244072401   CONNOR FRANCIS        PRIELIPP
 82 10304358501   CORNELIS              VAN EYK
 83 9000012301    CURTIS                WEAVER
 84 10264461501   DAMUZHEA              BOLDEN
 85 10072106001   DANIEL VIRGIL         MILLS
 86 10119482101   DAVID                 BELL
 87 9000022701    DAVIS MCKEE           WENDZEL
 88 10132342601   DAX                   MILNE
 89 10399824001   DAXTER                MILES
 90 10292504501   DEMARCUS              FIELDS
 91 10535880001   DEMETRIS              HARRIS
 92 10248268801   DENZEL R              MIMS
 93 10259482001   DEONTAY               ANDERSON
 94 10399792101   DEREK                 CULVER
 95 10617204901   DERRICK               BARNES
 96 10292998101   DERRICK               WHITE
 97 10068863901   DESTINY               SLOCUM
 98 10031731501   DIBAJI                WALKER
 99 9000039001    DIXIE                 WOOTEN III
100 9000041101    DONELL                PASTER
101 10406872301   DONOVAN               PEOPLES-JONES
102 10461244701   DONOVAN JOHN          CLINGAN
103 10115393401   DONTAIE               ALLEN
104 60013159901   DONTE                 INGRAM
105 10081682401   DORIAN SCOTT          ODANIEL
106 10174134001   DREW                  EUBANKS
107 10407075401   DUNCAN                ROBINSON
108 10243871701   DYLAN M               SMITH
109 10132258601   EARL                  MARINER
110 10577020601   EDGAR                 BURROLA
111 10022943801   ELIJAH                BLADES
112 10682167201   ELIZA                 EKSTRAND
113 10265601001   ELLE                  MEZZIO
114 10088111701   EMMA                  ROWLAND
115 10669726201   EMMALINE M            EKSTRAND
116 10096015701   ERIC                  STRIKER
117 10108474201   ERICK                 HALLETT
118 10427953901   ERICK BERNARD         NEAL
119 10584208401   ERIK                  STEVENSON
120 10585939401   EVERETT               HUNTER
121 10236602001   FILIP                 PETRUSEV
122 10282698501   FRANK                 MASON
123 10407087001   FRANZ JACOB           WAGNER
124 10138382401   GABE                  BRKIC
125 10093788301   GABREYL SALE AH YOU   SUMMERS
  Case 4:20-cv-03919-CW   Document 717-4    Filed 03/03/25   Page 92 of 96

126 10093002501   GAVIN                  CROSS
127 10558999801   GRANT                  HALEY
128 10301568101   GREGORY MICHEAL        FRANCIS
129 9000023001    GRIFFIN                CONINE
130 10132347501   GUNNER                 ROMNEY
131 9000040901    HANNAH                 CROFUT
132 10132299901   HARRIS                 LACHANCE
133 10297108001   HARRY                  ALLEN
134 10228253501   HASAHN                 FRENCH
135 10670832601   HASHEM                 ASADALLAH
136 10132254901   HAYDEN                 LIVINGSTON
137 10148109301   HAYDEN RANDLE          HURST
138 10308612201   HAYDEN THOMAS          HOWERTON
139 10176924601   HUNTER                 LONG
140 10059357401   HUNTER ALEXANDER       ECHOLS
141 10113611001   HUNTER HARKINS         BARCO
142 10407039001   HUNTER RYAN            DICKINSON
143 10641051901   IKEM                   OKEKE
144 10132393101   ISAAC                  REX
145 10132134001   ISAIAH                 KAUFUSI
146 50004112101   ISHMAEL                HYMAN
147 10132337201   JACKSON                KAUFUSI
148 10272933501   JACOB                  BROWNING
149 10273003901   JACOB                  EASON
150 TBD           JACOB                  EVANS
151 50018889001   JACOB                  HUFF
152 10181975401   JACOB                  LOWE
153 9000036101    JACOB                  MCCARTHY
154 10132262801   JACOB                  OLDROYD
155 10060818801   JACOB B                CURHAN

156 10561625401   JACOB THOMAS-MICHAEL   COX
157 TBD           JAIME                  JAQUEZ JR
158 10271230001   JAKE MATTHEW           BENZINGER
159 10259328001   JAMAL                  SHEAD
160 10132287201   JAMES                  EMPEY
161 10108582501   JAMES                  MORRISSEY
162 10248570701   JAMES H                LYNCH
163 10338679801   JAMES K                BLACKMON
164 10115744701   JAMES LANDON           YOUNG
165 10168550601   JAMISON ATHENS         GORDON
166 10266489401   JARED                  HOCKER
167 10132296301   JARED                  KAPISI
168 10558965201   JASON                  CABINDA
169 9000007301    JASON                  PRESTON
170 10071952101   JAWON CORTEZ           JOHNSON
  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 93 of 96

171 10273007601   JAXSON               KIRKLAND
172 10174287301   JAYDON               GRANT
173 10107952701   JAYLON               ROBINSON
174 10267671901   JAYSON               TATUM
175 10278942301   JEREMIAH J           LEDBETTER
176 10399801901   JERMAINE             HALEY
177 10119661101   JERRON NEHEMIAH      CAGE
178 10072511901   JIMMY                BELL
179 10271615801   JOHN                 COLLINS
180 10115270001   JOHN                 RHODES
181 10411288801   JOHN MICHAEL         SCHMITZ
182 10327022001   JOHN STEPHEN         CICHY
183 10271590701   JOHN THOMAS          WOLFORD
184 10354014301   JOHNNY               JUZANG
185 10132213601   JONAH                TRINNAMAN
186 10132154501   JONATHAN             LINEHAN
187 10624822401   JORDAN               BECK
188 10399822601   JORDAN               MCCABE
189 10267680001   JORDAN LEWIS         TUCKER
190 10181709501   JOSE                 ARCEGA-WHITESIDE
191 TBD           JOSH                 SMITH
192 10323348901   JOSH JAMES           WHYLE
193 10115747201   JOSHUA               ALI
194 10160109801   JOSHUA ANDREAS       PIERRE-LOUIS
195 10064645101   JOSHUA NOAH          GRAY
196 10297394501   JULIUS               BRENTS
197 10132444301   JUSTEN DEAN          SMITH
198 20000008901   JUSTIN               RAGIN
199 9000042401    KAHLIL               JOHNSON
200 10119512601   KAMERON DREW         WILLIAMS
201 10168563401   KARISSA ROSE         QUENICHET
202 10095954401   KATELYN              OHASHI
203 10118798101   KATHLEEN             DOYLE
204 10182876701   KATHRYN              MEYER
205 10288431601   KATHRYN E            WESTBELD
206 10267399801   KEATON               SUTHERLAND
207 10132232001   KEENAN               ELLIS
208 10303728701   KEIR                 THOMAS
209 10419992101   KELLAN               GRADY
210 10181753801   KEVIN                COSTELLO
211 10266791301   KEVIN                MARFO
212 10174670201   KEVIN TYLER          ABEL
213 10576958701   KHALIL               TATE
214 9000035901    KHYRI                THOMAS
215 9000033301    KRISTOPHER FARRELL   JENKINS
216 10354769101   KYLA                 ROSS
  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 94 of 96

217 10071888701   KYLIN JATAVIAN       HILL
218 10228833101   LAMONT               EVANS
219 10248828901   LAUREN               COX
220 10081650201   LOGAN JAMES          TISCH
221 20000538201   LOPINI               KATOA
222 10132234301   LORENZO              FAUATEA
223 10098639001   LUCAS                WILLIAMSON
224 10115486001   MADELYNNE            SCHERR
225 10354757501   MADISON              KOCIAN
226 10139005101   MAGGIE               NICHOLS
227 10399793301   MALIK                CURRY
228 10661535001   MALIQUE              JACOBS
229 10119518701   MARC CRANDALL        LOVING
230 10060945401   MARCEL MIKAL         DANCY
231 TBD           MARCUS               ALLEN
232 9000038701    MARCUS               WALLACE II
233 10280054601   MARCUS ANDREW        ZEGAROWSKI
234 10168636501   MARGARET MARY        OTOOLE
235 9000026801    MARQUES              TOWNES
236 10132401701   MASEN                WAKE
237 10671858701   MASON                MOSES
238 10357112701   MASSIMILIANO C       BORGHI
239 10304146101   MATHEU               NELSON
240 10624048101   MATTHEW              BUTLER
241 10308323601   MATTHEW              CROSS
242 10185683001   MATTHEW              MCLAIN
243 10607526301   MAURICE              ODUM
244 10535918001   MEKHI                LAPOINTE
245 60004611701   MICAH                PARTEN
246 60004638901   MICHAEL              HARLEY
247 10132397901   MICHAEL              TANUVASA
248 10671862901   MICHAEL              VAN RAAPHORST
249 10577147801   MICHAEL              WILEY
250 10181802601   MICHAEL              WILSON
                  MICHAEL DONOVAN
251 10119848601   ALEXANDER            JORDAN
252 10168421601   MICHAEL LOGAN        MENNING
253 10185813901   MICHAELA NNE         ONYENWERE
254 10095968401   MIKAYLA              PIVEC
255 10282996201   MONTELL H            COZART
256 10186277501   MORRELL ALEXANDER    OSLING III
257 10294012501   MYA                  HOLLINGSHED
258 10138565101   MYKEL                JONES
259 10131645801   NAKOBE RASHOD        DEAN
260 20000942801   NATE                 SAVINO
261 10399777501   NATHAN               ADRIAN
  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 95 of 96

262 10183413501   NATHANIEL            BRITT
263 10225092301   NATHANIEL            PIERRE-LOUIS
264 10064572001   NAZREON NYRU         REID
265 60016300801   NICHOLAS             DINARDI
266 10335992801   NICHOLAS             SWINEY
267 10071770601   NICHOLAS DYLAN       FITZGERALD
268 10249039901   NICHOLAS J           LOFTIN
269 10390868701   NIGEL                JOHNSON
270 10551039701   NKOSI                PERRY
271 10264308801   NYSIER               BROOKS
272 10168639001   OWEN WILLIAM         SCHWEBACH
273 10119745701   PALAIE TOFAU         GAOTEOTE
274 10125674701   PARKER               MESSICK
275 10169921901   PAUL                 STAMM
276 10139462701   PAYTN BLISS          MONTICELLI
277 10168582801   QUINCI GRACE         THOMAS
278 10406853001   QUINN RICHARD        NORDIN
279 10228421001   RASHAD               WILLIAMS
280 10406638601   RASHAN ABDUL         GARY
281 9000043701    RASHARD              DAVIS
282 10076433201   RILEY                CORNELIO
283 10123600101   ROMANE JOELLE        LONGUEVILLE
284 10200954501   ROMAR                REID
285 9000010801    RYAN                 ROLISON
286 10627241001   RYAN ALAN            MILLER
287 10353654101   SADDIQ               BEY
288 10345876101   SARAH JESSICA        FULLER
289 10114970001   SAVANNA J            FAULCONER
290 10553320801   SEAN                 CLIFFORD
291 9000019201    SEAN                 HJELLE
292 10226992001   SETH D               HENIGAN
293 10319845301   SHAQUEM              GRIFFIN
294 10319846501   SHAQUILL             GRIFFIN
295 9000020101    SHEA                 LANGELIERS
296 10406869301   SHEA CHRISTOPHER     PATTERSON
297 10264964901   SLADE                CECCONI
298 10106258801   SOPHIE ELIZABETH     CUNNINGHAM
299 10399818401   SPENCER              MACKE
300 10345715001   SPENCER GEORGE       JONES
301 10441953201   STANLEY              DYE
302 10186006701   STEPHAN              BLAYLOCK
303 10339048001   STEPHEN DEON         CARR
304 10399844501   TAJZMEL              SHERMAN
305 10411041701   TANNER               MORGAN
306 10264744601   TATHAN               MARTELL
307 9000025501    TAYLER               PERSONS
  Case 4:20-cv-03919-CW   Document 717-4   Filed 03/03/25   Page 96 of 96

308 10272954201   TAYLOR               RAPP
309 10168612201   TEEGAN MAKAY         MADARA
310 60004591901   TEVIN                BROYLES
311 10174492401   TIMMY                HERNANDEZ
312 10060763901   TIMOTHY CHAD         HANSEN
313 10559025301   TRACE                MCSORLEY
314 10132179001   TRAJAN ATOA JAMES    PILI
315 10082362201   TRENTON              SIMPSON
316 10174410901   TREVON               BRADFORD
317 10393269001   TREVON               SIDNEY
318 9000024201    TREVOR               SCOTT
319 10569283901   TREY                 LANCE
320 10322162101   TROY                 CAUPAIN
321 10327318901   TROY CHARLES         FUMAGALLI
322 10126474401   TRU                  THOMPSON
323 10088826401   TYJON                LINDSEY
324 60004098401   TYLER                BAUM
325 10115387901   TYLER                HERRO
326 10264878501   TYREE                ST LOUIS
327 10132151001   URIAH                LEIATAUA
328 10329114301   VALENTINO            DALTOSO
329 10278788801   VANCE                JACKSON
330 10407086901   VICTOR MORITZ        WAGNER
331 20001203001   VINCENT              SAMPSON
332 10399825101   VINCENT TREVON       MITCHELL
333 10071816401   WESTIN BRANNING      GRAVES
334 10115926201   WILL                 LEVIS
335 10130617901   WILLIAM JACOB        FROMM

336 10038339701   XAVIER               SIMPSON
337 10559630901   YETUR                GROSS-MATOS
338 9000021401    ZACHARY              GELOF
339 10132297501   ZACHARY              KATOA
340 10132317701   ZACHARY              WILSON
341 10132084001   ZACHARY G            DAWE
342 10407053501   ZAKARIE              IRVIN
343 10234469301   ZION                 BETHEA
